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1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services
                                              UNITED STATES BANKRUPTCY COURT
                                           COLUMBIA DISTRICT OF DIST OF COLUMBIA


               In Re:                                             §
                                                                  §
               DYLLANS LLC                                        §     Case No. 19-00757 SMT
                                                                  §
                                   Debtor                         §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      BRYAN S. ROSS CHAPTER 7 TRUSTEE, chapter 7 trustee, submits this Final
               Account, Certification that the Estate has been Fully Administered and Application to be
               Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 997,000.00                             Assets Exempt: 0.00
               (Without deducting any secured claims)

               Total Distributions to Claimants: 14,523.16              Claims Discharged
                                                                        Without Payment: 744,753.81

               Total Expenses of Administration: 50,435.95


                       3) Total gross receipts of $ 64,959.11 (see Exhibit 1), minus funds paid to the debtor and
               third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 64,959.11 from the liquidation of
               the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                         $ NA         $ 83,209.60            $ 83,209.60                   $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                        NA            31,605.21              31,605.21                31,605.21

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                NA            18,830.74              18,830.74                18,830.74

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                 NA                  NA                     NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                   NA           759,276.97             759,276.97                14,523.16

TOTAL DISBURSEMENTS                                      $ NA        $ 892,922.52           $ 892,922.52           $ 64,959.11


                 4) This case was originally filed under chapter 11 on 11/11/2019 , and it was converted
          to chapter 7 on 11/15/2019 . The case was pending for 17 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 04/13/2021                         By:/s/BRYAN S. ROSS CHAPTER 7 TRUSTEE
                                                                          Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                    UNIFORM                                       $ AMOUNT
                                                                           TRAN. CODE1                                    RECEIVED

    FORA Financial Preference                                                  1141-000                                        9,500.00

    9019 motion with Landlord                                                  1229-000                                       40,000.00

    FORA Financial Preference                                                  1241-000                                        7,689.05

    PEPCO                                                                      1290-000                                        7,770.06

TOTAL GROSS RECEIPTS                                                                                                         $ 64,959.11
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                       DESCRIPTION                           UNIFORM            $ AMOUNT
                                                                                                      TRAN. CODE             PAID

NA                                                                                                       NA                          NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                      $ 0.00
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS

                                                   UNIFORM        CLAIMS
                                                                                    CLAIMS                CLAIMS
CLAIM NO.                CLAIMANT                   TRAN.      SCHEDULED                                                  CLAIMS PAID
                                                                                   ASSERTED              ALLOWED
                                                    CODE      (from Form 6D)

000003A        FUNDING METRICS, LLC                4210-000                NA             83,209.60           83,209.60              0.00

TOTAL SECURED CLAIMS                                                     $ NA          $ 83,209.60          $ 83,209.60            $ 0.00




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             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                           CLAIMS          CLAIMS           CLAIMS
                PAYEE                       TRAN.                                                           CLAIMS PAID
                                                         SCHEDULED        ASSERTED         ALLOWED
                                            CODE

TRUSTEE
COMPENSATION:BRYAN ROSS                     2100-000                 NA         6,497.96        6,497.96          6,497.96


TRUSTEE EXPENSES:BRYAN
ROSS                                        2200-000                 NA          201.30            201.30          201.30


DC TREASURER                                2820-000                 NA         1,000.00        1,000.00          1,000.00


U.S. TRUSTEE                                2950-000                 NA          325.00            325.00          325.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):STINSON LLP                    3210-000                 NA       22,000.00       22,000.00          22,000.00


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):STINSON LLP                           3220-000                 NA          568.45            568.45          568.45


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):ARTHUR
LANDER CPA                                  3410-000                 NA         1,012.50        1,012.50          1,012.50

TOTAL CHAPTER 7 ADMIN. FEES                                       $ NA       $ 31,605.21     $ 31,605.21       $ 31,605.21
AND CHARGES



             EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES




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                                         UNIFORM
                                                            CLAIMS            CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                          SCHEDULED          ASSERTED           ALLOWED
                                          CODE

PRIOR CHAPTER ATTORNEY
FOR TRUSTEE/DIP FEES (OTHER
FIRM): ROBERT LANNAN ESQ.                 6210-000                    NA          10,653.30        10,653.30          10,653.30


PRIOR CHAPTER ATTORNEY
FOR TRUSTEE/DIP EXPENSES
(OTHER FIRM): ROBERT
LANNAN ESQ.                               6220-000                    NA              595.00          595.00            595.00


THE CHEF'S WAREHOUSE MID-
ATLANTIC                                  6990-000                    NA            7,582.44         7,582.44          7,582.44

TOTAL PRIOR CHAPTER ADMIN.                                         $ NA         $ 18,830.74       $ 18,830.74       $ 18,830.74
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                              CLAIMS            CLAIMS
                                                UNIFORM
                                                            SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                                 6E)             Claim)

NA          NA                                    NA                   NA                  NA              NA               NA

TOTAL PRIORITY UNSECURED                                              $ NA               $ NA             $ NA            $ NA
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS




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                                                             CLAIMS           CLAIMS
                                                UNIFORM
                                                           SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form     (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)            Claim)

            CANAL SQUARE
000008      ASSOCIATES                          7100-000             NA           18,552.91        18,552.91             0.00


            CANAL SQUARE
000009      ASSOCIATES                          7100-000             NA           18,552.91        18,552.91          363.76


            CANAL SQUARE
000010      ASSOCIATES                          7100-000             NA          619,910.40      619,910.40        12,154.40


            DEPARTMENT OF
000001A     TREASURY                            7100-000             NA               630.00          630.00           12.35


            EULER HERMES NORTH
000004      AMERICA INSURANC                    7100-000             NA           35,317.85        35,317.85          692.47


            FELLS POINT
000006      WHOLESALE MEATS INC                 7100-000             NA             7,129.29        7,129.29          139.78


000003      FUNDING METRICS LLC                 7100-000             NA           17,125.00        17,125.00          335.76


000002      KMG HAULING, INC.                   7100-000             NA             3,773.46        3,773.46           73.99


000007      THE CHEF'S WAREHOUSE 7100-000                            NA           38,285.15        38,285.15          750.65

TOTAL GENERAL UNSECURED                                             $ NA       $ 759,276.97     $ 759,276.97      $ 14,523.16
CLAIMS




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                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:        1
                                                                                           ASSET CASES                                                                                               Exhibit 8
Case No:              19-00757       SMT    Judge: S. MARTIN TEEL                                                            Trustee Name:                      BRYAN S. ROSS CHAPTER 7 TRUSTEE
Case Name:            DYLLANS LLC                                                                                           Date Filed (f) or Converted (c):    11/15/19 (c)
                                                                                                                            341(a) Meeting Date:                12/19/19
For Period Ending: 04/13/21                                                                                                 Claims Bar Date:                    03/11/20



                                       1                                     2                         3                         4                         5                                   6
                                                                                              Estimated Net Value
                                                                         Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                                Asset Description                       Unscheduled         Less Liens, Exemptions,          Abandoned                Received by               Gross Value of Remaining Assets
                    (Scheduled and Unscheduled (u) Property)              Values               and Other Costs)          OA=554(a) Abandon             the Estate

 1. PNC Checking                                                                  0.00                            0.00                                               0.00                    FA
 2. SECURITY DEPOSIT                                                       210,000.00                             0.00                                               0.00                    FA
 3. Work Allowance                                                         262,000.00                             0.00                                               0.00                    FA
 4. dry goods and food                                                        8,000.00                            0.00                                               0.00                    FA
 5. LIQUOR                                                                  40,000.00                             0.00                                               0.00                    FA
 6. OFFICE EQUIPMENT                                                          1,800.00                            0.00                                               0.00                    FA
 7. computers, printers and phones                                          10,200.00                             0.00                                               0.00                    FA
 8. commercial kitchen equipment                                           140,000.00                             0.00                                               0.00                    FA
 9. LEASE                                                                    Unknown                              0.00                                               0.00                    FA
 10. web site                                                                Unknown                              0.00                                               0.00                    FA
 11. mailing list                                                            Unknown                              0.00                                               0.00                    FA
 12. net operating loss 2018 & 2019                                          Unknown                              0.00                                               0.00                    FA
 13. LAWSUIT                                                               300,000.00                             0.00                                               0.00                    FA
 14. pots and pans                                                          25,000.00                             0.00                                               0.00                    FA
 15. 9019 motion with Landlord (u)                                                0.00                       40,000.00                                          40,000.00                    FA
     Agreement to sell assets to landlord free and clear of liens
 16. FORA Financial Preference (u)                                                0.00                      100,000.00                                           7,689.05                    FA
     Filed 8-3-20 de# 79.
 17. PEPCO (u)                                                                    0.00                        7,770.06                                           7,770.06                    FA
     Security Deposit
 18. Lendini/Funding Metrics Preference (u)                                       0.00                       15,000.00                                           9,500.00                    FA
     Preference Action. Case settled 9-1-20
     Check recevied 9-16-20

                                                                                                                                                                               Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                        $997,000.00                      $162,770.06                                         $64,959.11                           $0.00




LFORM1                                                                                                                                                                                                      Ver: 22.03a
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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       2
                                                                                                            ASSET CASES                                                                                                 Exhibit 8
Case No:              19-00757        SMT      Judge: S. MARTIN TEEL                                                                            Trustee Name:                     BRYAN S. ROSS CHAPTER 7 TRUSTEE
Case Name:            DYLLANS LLC                                                                                                              Date Filed (f) or Converted (c):   11/15/19 (c)
                                                                                                                                               341(a) Meeting Date:               12/19/19
                                                                                                                                               Claims Bar Date:                   03/11/20



                                          1                                                 2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                                Asset Description                                    Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                    (Scheduled and Unscheduled (u) Property)                           Values                  and Other Costs)             OA=554(a) Abandon             the Estate

                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   3/15/20 Trustee to get motion to sell free and clear approved.


   3/15/20     Accountant to file final tax return.


   3/15/20 Trustee's attorney to file several preference actions.


   9/3/20     Trustee has filed preference action


   Initial Projected Date of Final Report (TFR): 06/30/20           Current Projected Date of Final Report (TFR): 06/30/21


             /s/     BRYAN S. ROSS CHAPTER 7 TRUSTEE
   __________________________________________ Date: 04/13/21
             BRYAN S. ROSS CHAPTER 7 TRUSTEE




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             19-00757 -SMT                                                                                           Trustee Name:                      BRYAN S. ROSS CHAPTER 7 TRUSTEE
  Case Name:           DYLLANS LLC                                                                                             Bank Name:                         Axos Bank
                                                                                                                               Account Number / CD #:             *******0090 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******7766
  For Period Ending: 04/13/21                                                                                                  Blanket Bond (per case limit):     $ 3,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                                  3                                                4                                            5                       6                   7
    Transaction       Check or                                                                                                        Uniform                                                      Account / CD
       Date           Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                    BALANCE FORWARD                                                                                                              0.00
          02/18/20       15       Canal Square Associates                           9019 motion with Landlord                        1229-000               40,000.00                                      40,000.00
          03/30/20     007001     DC Treasurer                                      DC Tax Return 2019                               2820-000                                          1,000.00            39,000.00
                                                                                    2019 Tax Return
          04/28/20       17       Pepco                                             security deposit refund                          1290-000                   7,770.06                                   46,770.06
                                  1310 Point St 18th Floor
                                  Baltimore, MD 21231
          06/16/20     007002     Arthur Lander CPA                                 Accounting Fees                                  3410-000                                          1,012.50            45,757.56
                                                                                    DE #78
          09/16/20       16       Stinson LLP                                       Preference Action                                1141-000                   9,500.00                                   55,257.56
          12/11/20     007003     Stinson LLP                                       ATTORNEY FEES                                    3210-000                                      22,000.00               33,257.56
                                                                                    DE# 91
          12/11/20     007004     Stinson LLP                                       Expenses                                         3220-000                                           568.45             32,689.11
                                                                                    DE #91
          12/16/20       16       Charles Gormly Esq.                               Settlement Preference Action                     1241-000                   7,689.05                                   40,378.16
          02/23/21     007005     BRYAN S. ROSS                                     Chapter 7 Compensation/Fees                      2100-000                                          6,497.96            33,880.20
                                  1776 K Street NW
                                  Suite 200
                                  Washington DC, 20006
          02/23/21     007006     BRYAN S. ROSS                                     Chapter 7 Expenses                               2200-000                                           201.30             33,678.90
                                  1776 K Street NW
                                  Suite 200
                                  Washington DC, 20006
          02/23/21     007007     U.S. Trustee                                      Claim 000005, Payment 100.00000%                 2950-000                                           325.00             33,353.90
                                  1725 Duke Street, Suite 650
                                  Alexandria, VA 22314
          02/23/21     007008     Robert Lannan Esq.                                Claim 000011, Payment 100.00000%                 6210-000                                      10,653.30               22,700.60
                                  1717 K Street NW                                  ATTORNEY FEES
                                  Suite 900


                                                                                                                               Page Subtotals               64,959.11                  42,258.51
                                                                                                                                                                                                           Ver: 22.03a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             19-00757 -SMT                                                                                       Trustee Name:                    BRYAN S. ROSS CHAPTER 7 TRUSTEE
  Case Name:           DYLLANS LLC                                                                                         Bank Name:                       Axos Bank
                                                                                                                           Account Number / CD #:           *******0090 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******7766
  For Period Ending: 04/13/21                                                                                              Blanket Bond (per case limit):   $ 3,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                 3                                             4                                            5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  WDC 20006
          02/23/21     007009     Robert Lannan Esq.                               Claim 000012, Payment 100.00000%              6220-000                                           595.00             22,105.60
                                                                                   Expenses
          02/23/21     007010     The Chef's Warehouse Mid-Atlantic                Claim 000007A, Payment 100.00000%             6990-000                                          7,582.44            14,523.16
                                  Reed Smith LLP
                                  c/o Christopher Lynch
                                  599 Lexington Ave
                                  24th Floor
                                  New York, NY 10022
          02/23/21     007011     Department of Treasury                           Claim 000001A, Payment 1.96032%               7100-000                                            12.35             14,510.81
                                  Internal Revenue Service
                                  PO Box 7346
                                  Philadelphia, PA 19101
          02/23/21     007012     kmG Hauling, Inc.                                Claim 000002, Payment 1.96080%                7100-000                                            73.99             14,436.82
                                  PO Box 650821
                                  Potomac Falls, VA 20165
          02/23/21     007013     Funding Metrics LLC                              Claim 000003, Payment 1.96064%                7100-000                                           335.76             14,101.06
          02/23/21     007014     Euler Hermes North America Insurance             Claim 000004, Payment 1.96068%                7100-000                                           692.47             13,408.59
                                  Company
                                  800 Red Brook Blvd.
                                  Owings Mills, MD 21117
          02/23/21     007015     Fells Point Wholesale Meats Inc                  Claim 000006, Payment 1.96064%                7100-000                                           139.78             13,268.81
                                  Reed Smith LLP
                                  c/o Christopher Lynch
                                  599 Lexington, Ave
                                  24th Floor
                                  New York, NY 10022
          02/23/21     007016     The Chef's Warehouse                             Claim 000007, Payment 1.96068%                7100-000                                           750.65             12,518.16
          02/23/21     007017     Canal Square Associates                          Claim 000009, Payment 1.96066%                7100-000                                           363.76             12,154.40
                                  c/o RB Properties, Inc.

                                                                                                                           Page Subtotals                        0.00              10,546.20
                                                                                                                                                                                                       Ver: 22.03a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                          Exhibit 9
  Case No:             19-00757 -SMT                                                                                           Trustee Name:                       BRYAN S. ROSS CHAPTER 7 TRUSTEE
  Case Name:           DYLLANS LLC                                                                                             Bank Name:                          Axos Bank
                                                                                                                               Account Number / CD #:              *******0090 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******7766
  For Period Ending: 04/13/21                                                                                                  Blanket Bond (per case limit):      $ 3,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                             3                                                  4                                                 5                          6                         7
     Transaction      Check or                                                                                                        Uniform                                                               Account / CD
        Date          Reference               Paid To / Received From                          Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                  1054 31st St NW, Suite 1000
                                  Washington, DC 20007
          02/23/21     007018     Canal Square Associates                          Claim 000010, Payment 1.96067%                    7100-000                                            12,154.40                         0.00
                                  c/o RB Properties, Inc.
                                  1054 31st St NW, Suite 1000
                                  Washington, DC 20007
 *        03/03/21                Axos Bank                                        BANK SERVICE FEE                                  2600-003                                                 37.98                     -37.98
 *        04/06/21                Reverses Adjustment OUT on 03/03/21              BANK SERVICE FEE                                  2600-003                                                 -37.98                       0.00

                                                                                                           COLUMN TOTALS                                      64,959.11                  64,959.11                          0.00
                                                                                                               Less: Bank Transfers/CD's                           0.00                       0.00
                                                                                                           Subtotal                                           64,959.11             64,959.11
                                                                                                               Less: Payments to Debtors                                                 0.00
                                                                                                           Net
                                                                                                                                                              64,959.11             64,959.11
                                                                                                                                                                                   NET                             ACCOUNT
                                                                                                            TOTAL - ALL ACCOUNTS                     NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                          Checking Account (Non-Interest Earn - ********0090                   64,959.11                   64,959.11                         0.00
                                                                                                                                                   ------------------------    ------------------------   ------------------------
                                                                                                                                                               64,959.11                   64,959.11                         0.00
                                                                                                                                                   ==============             ==============              ==============
                                                                                                                                                    (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                               Transfers)               To Debtors)                    On Hand




                                 /s/    BRYAN S. ROSS CHAPTER 7 TRUSTEE
          Trustee's Signature: __________________________________ Date: 04/13/21
                                 BRYAN S. ROSS CHAPTER 7 TRUSTEE



                                                                                                                               Page Subtotals                        0.00                   12,154.40
                                                                                                                                                                                                                      Ver: 22.03a
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